Case 2:11-cv-12422-AC-MKM ECF No. 129-19, PagelD.2168 Filed 07/28/14 Page 1 of 2

EXHIBIT 18
Case 2:11-cv-12422-AC-MKM ECF No. 129-19, PagelD.2169

Filed 07/28/14 Page 2 of 2

002245 880003
Insured Nama =GARY H LUPILOFF
Polley Number 1034804300
Policy Osis =» November 28, 2003
Age Ol insured 46
Sexofinaured Mela
10 Year Lave! Guaranteed Term Life insurance to Age 95 - Base Policy Face Amount~ $500,000
NOTE: Premium is dus et the beginning of each premium payment period (Je. Annual, Sem)-Annual, Quarterly,
Monthy}. The premium for the annus) premium payment period is disclosed on this page.
NOTE: Conversion may be at eny tima during tho iret 5 years, subject to the “CONVERSION? provision.
Pouce OUARANTERD pouer QUA!
YEAR AOE PREMIUM YEAR AOR . PREMIUM
1 46 $1,030.06 26 71 $52,915.02
“2 47 $1, 030,00 27 72 $58,435.00
3 48 $1,030.00 28 7a $88,138.00
4 49 $1,030.00 29 74 $72,495.00
5 50 $1,030.00 30 78 580,585.00
a §1 $1,039.00 31 76 $89,675.00
7 52 $t,030 00 a2 77 * $97,365.00
8 83 $1,090.00 33 78 $106,460.00
3 84 $1,030.00 34 78 $115,310.00
10 ss . $1,620.00 35 80 $127,470.00
"W 56 313,825.00 36 at $139,335.00
. 12 5? 942,980.00 or ez ” $109,000.09
13 58 314,265.00 38 a3 $168,280.60
14 39 $18,710.00 39 84 $184,685.00
18 60 $17,320.00 40 88 $201,930.00
16 as $19, 110,00 41 35 $219,740.00
417 62 $21,175.00 42 87 $237,996.00
18 83 $29,518.00 43 88 $256,315.00
. 19 os $28,130.00 44 89 $275,225.00
20 65 $28,985.00 45 990 $294,910.00
23 88 $32,030.00 48 7 $315,830.00
22 ar $38,330.00 47 92 $338,785.00
2a 88 $38,915.00 48 33 * $985, 945.00
24 68 $42,890.00 48 94 $402,410.00
26 70 $47,760.06
Ute «ene Page XLYPOSA
0304
